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                  EXHIBIT B
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                                                                  Rachel Vela,
                                                                  District Clerk
                                                                  Duval County, Texas
                                                                  Elizabeth Hinojosa
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                                                                  Filed: 4/22/2019 9:24 AM
                                                                                      Rachel Vela,
                                                                                      District Clerk
                                                                                      Duval County, Texas
                                                                                       Maricella Garcia

                                           CAUSE NO. DC-19-105

 BRUSH COUNTRY BANK,                                  §            IN THE DISTRICT COURT OF
                                                      §
           Plaintiff,                                 §
                                                      §
 vs.                                                  §
                                                      §                  DUVAL COUNTY, TEXAS
 ATLANTIC SPECIALTY INSURANCE                         §
 COMPANY, and ABERCROMBIE,                            §
 SIMMONS & GILLETTE, INC.                             §
                                                      §
           Defendants.                                §                 229th JUDICIAL DISTRICT


               DEFENDANT ATLANTIC SPECIALTY INSURANCE COMPANY’S
                              ORIGINAL ANSWER

          Defendant Atlantic Specialty Insurance Company (“Atlantic Specialty”) submits the

following Original Answer to Plaintiffs’ Original Petition.

                                      I.      GENERAL DENIAL

          1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Atlantic Specialty

generally denies each and every, all and singular, the allegations contained in Plaintiff’s Original

Petition and demands strict proof thereof.

                                             II.    PRAYER

          Atlantic Specialty prays that (i) Plaintiff’s claims for relief be denied in their entirety, (ii)

Plaintiff takes nothing by its claims, and (iii) Atlantic Specialty be granted such other and further

relief to which it is justly entitled.




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                                            Respectfully submitted,

                                            By:     /s/ Brett A. Wallingford
                                                    Brett A. Wallingford
                                                    Texas Bar No. 00797618
                                                    bwallingford@zelle.com
                                                    M. Paige Tackett
                                                    State Bar No. 24083935
                                                    ptackett@zelle.com

                                                    ZELLE LLP
                                                    901 Main Street, Suite 4000
                                                    Dallas, Texas 75202-3975
                                                    Telephone:     214-742-3000
                                                    Facsimile:     214-760-8994

                                            ATTORNEYS FOR DEFENDANT ATLANTIC
                                            SPECIALTY INSURANCE COMPANY


                               CERTIFICATE OF SERVICE

       A true and correct copy of the forgoing has been served on the following counsel of record
in accordance with the TEXAS RULES OF CIVIL PROCEDURE on April 22, 2019:

        Juan “Trey” Mendez, III
        MENDEZ LAW FIRM
        647 E. Saint Charles Street
        Brownsville, Texas 78520
        trey@brownsvillelawfirm.com

        Frank D. Calvert
        CALVERT EAVES CLARKE & STELLY, L.L.P.
        2615 Calder Avenue, Suite #1070
        Beaumont, Texas 77702
        fcalvert@calvert-eaves.com


                                                           /s/ Brett A. Wallingford
                                                    Brett A. Wallingford




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